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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                    §
  MARVELL SEMICONDUCTOR, INC.       §
  MARVELL ASIA PTE., LTD., and MARVELL
                                    §
  INTL., LTD,                       §
                                    §
                 Plaintiffs and     §                       Civil Action No. 6-07-CV-204 LED
                 Counterdefendants, §
                                    §                       Jury Trial Demanded
            v.                      §
                                    §
  COMMONWEALTH SCIENTIFIC AND       §
  INDUSTRIAL RESEARCH ORGANISATION, §
                                    §
                 Defendant and      §
                 Counterclaimant.   §


                                              ORDER
         Before the Court is Commonwealth Scientific and Industrial Research Organisation’s

  (“CSIRO”) Motion to Compel Sony Computer Entertainment America, Inc., and Sony

  Electronics, Inc., To Produce 30(b)(6) Deponents. Having considered the parties arguments and

  evidence, and good cause being shown, CSIRO’s Motion to Compel Sony Computer

  Entertainment America, Inc., and Sony Electronics, Inc., To Produce 30(b)(6) Deponents is

  hereby GRANTED.         Within ten business days of this Order, Sony Computer Entertainment

  America, Inc., and Sony Electronics, Inc., are each hereby ordered to appear for deposition at the

  offices of Capshaw DeRieux, LLP.


         IT IS SO ORDERED.
